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                         IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION

 SARAH FRANCES DRAYTON, et al.,

        Plaintiffs,

                  v.                                     Civ. No. 2:16-CV-00053-RSB-BWC

 MCINTOSH COUNTY, et al.,

        Defendants.


                       JOINT STIPULATION OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all parties jointly stipulate

that Plaintiffs to this action voluntarily dismiss all claims against Defendant McIntosh County

Sheriff Stephen Jessup in the above-titled action with prejudice, with all parties to bear their own

costs and fees.

       Dated: September 28, 2018

Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of September, 2018, a copy of the foregoing Joint

Stipulation of Voluntary Dismissal was served by email on the following counsel of record:

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